

People v Ritchens (2024 NY Slip Op 05773)





People v Ritchens


2024 NY Slip Op 05773


Decided on November 19, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 19, 2024

Before: Manzanet-Daniels, J.P., Moulton, Mendez, Rodriguez, Rosado, JJ.


Ind. No. 70857/22 Appeal No. 3061-3062 Case No. 2023-04633, 2024-01841 

[*1]The People of The State of New York, Respondent, 
v Kiron Ritchens, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (David J. Klem of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Stephen J. Kress of counsel), for respondent.



Appeals having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Curtis Farber, J.), rendered January 17, 2023, and a judgment of the Supreme Court, New York County (Laurie Peterson, J. , rendered March 24, 2023
Said appeals having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentences not excessive,
It is unanimously ordered that the judgments so appealed from be and the same are hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 19, 2024
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








